                           No. 25-5057


  In the United States Court of Appeals
   for the District of Columbia Circuit
                       GWYNNE A. WILCOX,

                                         Plaintiff-Appellee,

                                 v.

    DONALD J. TRUMP, in his official capacity as President of the
    United States, MARVIN E. KAPLAN, in his official capacity as
        Chairman of the National Labor Relations Board,

                                         Defendants-Appellants.

         On Appeal from the United States District Court
                 for the District of Columbia

NOTICE OF INTENT TO FILE BRIEF OF FORMER NATIONAL
LABOR RELATIONS BOARD MEMBERS AS AMICI CURIAE IN
  OPPOSITION TO APPELLANTS’ EMERGENCY MOTION
            FOR A STAY PENDING APPEAL

                                      Dennis Fan, Director
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          NOTICE OF INTENT TO AND REPRESENTATION OF
            CONSENT TO FILE BRIEF OF AMICUS CURIAE

      Pursuant to D.C. Circuit Rule 29, former Members of the National Labor

Relations Board Lauren McFerran, Mark Gaston Pearce, Wilma Liebman, Nancy

Schiffer, Sarah Fox, and Charles Cohen hereby give notice that they intend to file a

brief as amicus curiae in opposition to appellants’ emergency motion for a stay pending

appeal. All parties have consented to the filing of this brief.

 Dated:    New York, NY                   Respectfully submitted,
           March 11, 2025
                                          /s/ Dennis Fan
                                          Dennis Fan, Director
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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the District of Columbia Circuit

using the Court’s CM/ECF system on March 11, 2025, which will send notice of

such filing to counsel, all of whom are CM/ECF registered users.

Dated: March 11, 2025                         /s/ Dennis Fan
                                              Dennis Fan
                                              Counsel for Amici Curiae




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